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                                ASIC Creditor Matrix v2
Accelerated Wealth
13570 Meadowgrass Dr. Ste 100
Colorado Springs, CO 80921



Amy Stoddard
512 S. Aguilar Dr, Apt E
Pueblo West, CO 81007



Anthony and Reagan Aynes
18423 Edgewood Dr
Peyton, CO 80831



Bill Walton
500 Plantation Village Dr, Bld 2-103
Dorado, PR 00646



Black Forest Lutheran Church
12455 Black Forest Road
Colorado Springs, CO 80908



Carl and Kathleen Eisenbrown
17861 Pinon Park Rd
Peyton, CO 80831



Carl Nehls
3035 Richfield Drive
Colorado Springs, CO 80919



Charlene Farrell
6700 Pickney Road
Rye, CO 81069




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                              ASIC Creditor Matrix v2
Christine Hutchins-Chavez
5236 Centennial Ct
Windsor, CO 80550



Cynthia L. Goodman
1024 Seagrape Dr
Ruskin, FL 33570



Dennis and Patricia Ferl
375 Scrub Oak
Monument, CO 80132



Dennis R. Snyder
415 Wuthering Heights Drive
Colorado Springs, CO 80921



Donald and Barbara Titmas
6548 Whistle Bay Drive
Colorado Springs, CO 80923



Donald and Naomi Mueller
2661 Fuller Road
Colorado Springs, CO 80920



Donald and Susan Garrison
903 Holmes Drive
Colorado Springs, CO 80909



Douglas C. Clark
2325 Heatherdale Ct
Colorado Springs, CO 80915




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                                 ASIC Creditor Matrix v2
Edward and Holly Heuer
3177 Montpelier Court
Pleasanton, CA 94588



Eugene McWilliams
975 Mercury Cirlce
Lone Tree, CO 80124



F. David and Lenore M. Swaim
2420 Spanish Oak Terrace
Colorado Springs, CO 80920



Gary and Nancy Snyder
9947 Bridgeport Drive
Colorado Springs, CO 80920



George and Gertrude Colflesh
4865 Old Farm Cir W
Colorado Springs, CO 80917



Gerald and Kimtran Leake
1465 Bison Ridge Drive
Colorado Springs, CO 80919



Glen Shoptaugh
2232 Wolff Place
Colorado Springs, CO 80904



H. Michael and Carol Tennerman
5565 Pomona Drive
Colorado Springs, CO 80918




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                                 ASIC Creditor Matrix v2
Harold S. and Vicki R. Franson
1930 Dennison Ct
Colorado Springs, CO 80918



High Trust Financial and Consulting, Inc
Chris Abeyta
13570 Meadowgrass Dr, Ste 100
Colorado Springs, CO 80921



Irving and Karen Crump
6580 Club Villa Rd
Parker, CO 80134



James K. and Patricia C. Richardson
16070 State Highway 83
Colorado Springs, CO 80921



Jerry and Carol Barnett
11005 Huntsman Road
Colorado Springs, CO 80908



John C. and Eileen R. Sasse
316 Lions Head Dr
Monument, CO 80132



John R Hildebrandt and
BonnieLee D Hildbrenadt
18050 Granite Circle
Monument, CO 80132



Katherine Soltero
2475 Wimbledon Ct.
Colorado Springs, CO 80920

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                                ASIC Creditor Matrix v2


Kenneth and Patricia Brier
14870 Curb Bit Lane
Colorado Springs, CO 80921



Kenneth R and Cheryl S Sexton
5225 Vessey Road
Colorado Springs, CO 80908



Kimtran Leake
1465 Bison Ridge Drive
Colorado Springs, CO 80919



Kurt and Anne Kessel
2812 Middlesborough Ct
Fort Collins, CO 80525



Lawrence and Audrey Gray
1440 Bison Ridge Drive
Colorado Springs, CO 80919



Lisa M. Masters
5024 Chariot Drive
Colorado Springs, CO 80923



Lisa Renee Whitaker
40040 US Hwy 350
Trinidad, CO 81082



Lost Creek Living Trust
5179 W. Nokasippi Lane
South Jordan, UT 84009

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                                ASIC Creditor Matrix v2


Louie Live Long and Prosper Trust
7242 Windsor Lane
Hyattsville, MD 20782



Mark E and Kimberly K. Harter
6724 Granite Peak Drive
Colorado Springs, CO 80923



Marshall Klitzke
2480 Shiprock Way
Colorado Springs, CO 80919



McDonald Living Trust Dated 06/22/16
3860 Camels View
Colorado Springs, CO 80904



McGinty Family Living Trust
6680 Prairie Wind Drive
Colorado Springs, CO 80923



MTC, LLC FBO Angela Snyder
IRA xxxx33694
2001 Spring Rd, Suite 700
Oak Brook, IL 60523



MTC, LLC FBO Audrey Gray
IRA XXXX46753
2001 Spring Rd, Suite 700
Oak Brook, IL 60523



MTC, LLC FBO Barbara L Nemechek
IRA xxxx814X4
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                                ASIC Creditor Matrix v2
2001 Spring Rd, Suite 700
Oak Brook, IL 60523



MTC, LLC FBO Bonnie L Pinkstaff
IRA xxxx14718
2001 Spring Rd, Suite 700
Oak Brook, IL 60523



MTC, LLC FBO BonnieLee D Hildebrandt
IRA xxxx71786
2001 Spring Rd, Suite 700
Oak Brook, IL 60523



MTC, LLC FBO Carl F. Eisenbrown
IRA xxxx66178
2001 Spring Rd, Suite 700
Oak Brook, IL 60523



MTC, LLC FBO Charlene Farrell
IRA xxxx29833
2001 Spring Rd, Suite 700
Oak Brook, IL 60523



MTC, LLC FBO Constance Ender-Kuhle
IRA xxxx36G64
2001 Spring Rd, Suite 700
Oak Brook, IL 60523



MTC, LLC FBO Donald R. Titmas
IRA xxxx76523
2001 Spring Rd, Suite 700
Oak Brook, IL 60523



MTC, LLC FBO Francis S Heming Jr.
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                              ASIC Creditor Matrix v2
IRA xxxx68465
2001 Spring Rd, Suite 700
Oak Brook, IL 60523



MTC, LLC FBO Gary Snyder
ROTH IRA xxxx54152
2001 Spring Rd, Suite 700
Oak Brook, IL 60523



MTC, LLC FBO Gerald Leake
IRA xxxx36136
2001 Spring Rd, Suite 700
Oak Brook, IL 60523



MTC, LLC FBO GMS, Inc. Profit Sharing Pl
IRA xxxx59764
2001 Spring Rd, Suite 700
Oak Brook, IL 60523



MTC, LLC FBO James Cromer
IRA XXXX22356
2001 Spring Rd, Suite 700
Oak Brook, IL 60523



MTC, LLC FBO Joann C. Booth
IRA XXXX11661
2001 Spring Rd, Suite 700
Oak Brook, IL 60523



MTC, LLC FBO Kathleen Eisenbrown
IRA xxxx81150
2001 Spring Rd, Suite 700
Oak Brook, IL 60523




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                                 ASIC Creditor Matrix v2
MTC, LLC FBO Kimtran Leake
Roth IRA xxxx57163
2001 Spring Rd, Suite 700
Oak Brook, IL 60523



MTC, LLC FBO Lawrence D Nemechek
IRA xxxx29374
2001 Spring Rd, Suite 700
Oak Brook, IL 60523



MTC, LLC FBO Lawrence Gray
Roth IRA XXXX88844
2001 Spring Rd, Suite 700
Oak Brook, IL 60523



MTC, LLC FBO Lisa M. Masters
Roth IRA xxxxIR550
2001 Spring Rd, Suite 700
Oak Brook, IL 60523



MTC, LLC FBO Margaret A Davis
IRA xxxx41318
2001 Spring Rd, Suite 700
Oak Brook, IL 60523



MTC, LLC FBO Margaret R Abeyta
IRA XXXX22711
2001 Spring Rd, Suite 700
Oak Brook, IL 60523



MTC, LLC FBO Margaret Seguna
IRA xxxx33917
2001 Spring Rd, Suite 700
Oak Brook, IL 60523



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                               ASIC Creditor Matrix v2

MTC, LLC FBO Michael V Cranford
Roth IRA xxxx46990
2001 Spring Rd, Suite 700
Oak Brook, IL 60523



MTC, LLC FBO Patrick Quinn
IRA XXXX51247
2001 Spring Rd, Suite 700
Oak Brook, IL 60523



MTC, LLC FBO Robin Smith
IRA xxxx59995
2001 Spring Rd, Suite 700
Oak Brook, IL 60523



MTC, LLC FBO Sally K Wiggins
IRA xxxx69773
2001 Spring Rd, Suite 700
Oak Brook, IL 60523



MTC, LLC FBO Scott McCreedy
Roth IRA XXXX34956
2001 Spring Rd, Suite 700
Oak Brook, IL 60523



MTC, LLC FBO Vernon Smith
IRA xxxx49777
2001 Spring Rd, Suite 700
Oak Brook, IL 60523



MTC, LLC FBO W. Glen Smith
IRA xxxx27896
2001 Spring Rd, Suite 700
Oak Brook, IL 60523

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                                 ASIC Creditor Matrix v2


MTC, LLC FBO William D. Gartner
IRA XXXX45879
2001 Spring Rd, Suite 700
Oak Brook, IL 60523



MTC, LLC FBO William R Bradley
IRA xxxx84866
2001 Spring Rd, Suite 700
Oak Brook, IL 60523



MTC, LLC FBO William T Davis
IRAXXXX23U74
2001 Spring Rd, Suite 700
Oak Brook, IL 60523



NDIRA, Inc FBO Barbara Gritzmaker
IRA XXX7408
1070 W Century Dr, Suite 101
Louisville, CO 80027



NDIRA, Inc FBO Christine Hutchins-Chavez
IRA XXX8348
1070 W Century Dr, Suite 101
Louisville, CO 80027



NDIRA, Inc FBO Dawn Elaine Carlson
IRA XXX7094
1070 W Century Dr, Suite 101
Louisville, CO 80027



NDIRA, Inc FBO Duane Gritzmaker
IRA XXX7409
1070 W Century Dr, Suite 101
Louisville, CO 80027
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                                 ASIC Creditor Matrix v2



NDIRA, Inc FBO Duane Gritzmaker
ROTH IRA XXX7410
1070 W Century Dr, Suite 101
Louisville, CO 80027



NDIRA, Inc FBO James Bussard
IRA XXX8697
1070 W Century Dr, Suite 101
Louisville, CO 80027



NDIRA, Inc FBO Justin Ross
IRA XXX6949
1070 W Century Dr, Suite 101
Louisville, CO 80027



NDIRA, Inc FBO Larry Harold Ellis
IRA XXX8007
1070 W Century Dr, Suite 101
Louisville, CO 80027



NDIRA, Inc FBO Leonard Schmitt
IRA XXX1148
1070 W Century Dr, Suite 101
Louisville, CO 80027



NDIRA, Inc FBO Michael Gower
1070 W Century Dr, Suite 101
Louisville, CO 80027



NDIRA, Inc FBO Patricia L. Harrington
IRA XXX7170
1070 W Century Dr, Suite 101
Louisville, CO 80027
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                                 ASIC Creditor Matrix v2



NDIRA, Inc FBO Rhonda Thompson
IRA XXX1779
1070 W Century Dr, Suite 101
Louisville, CO 80027



NDIRA, Inc FBO Shannon Kaye
IRA XXX7529
1070 W Century Dr, Suite 101
Louisville, CO 80027



NDIRA, Inc FBO Timothy J. Britton
IRA XXX8643
1070 W Century Dr, Suite 101
Louisville, CO 80027



Nehls Family Limited Partnership
3035 Richfield Drive
Colorado Springs, CO 80919



Porter Living Trust
138 Rick Turner Drive
Huntsville, AL 35811



Prewitt Living Trust
3010 Wesley Road
Spring Hill, TN 37174



R.C. Goodman Martial Trust
7600 Sandy Rock Point, Apt 220
Colorado Springs, CO 80924




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                              ASIC Creditor Matrix v2
Raymond Yelle
1340 Masthead Way
Monument, CO 80132



Richard T Packer
4919 Tarry Glen Dr
Suwanee, GA 30024



Robert Olson
2860 S Olivet Road
Columbia, MO 65201



Roger Abeyta
1119 Narcisco Street NE
Albuquerque, NM 87112



Russell A. and Lucinda L. Ogrinz
3805 Brushland Court
Colorado Springs, CO 80904



Rutz Trust Dated September 17th, 1998
20252 Thunder Road W
Colorado Springs, CO 80908



Sandra Sutton
2615 Heathrow Dr.
Colorado Springs, CO 80920



Scott and Vicky Thomas
1035 Cragin Road
Colorado Springs, CO 80920




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                              ASIC Creditor Matrix v2
Scott R. Goodman
1024 Seagrape Dr
Ruskin, FL 33570



Sharron A. Regenthal LT Dated 10/11/2004
394 E. Briarwood Drive
Centennial, CO 80122



Steven R. Shane
4834 Diablo Valley Ct
Colorado Springs, CO 80918



The Dahlia Garden Trust
2216 W. Uintah Street
Colorado Springs, CO 80904



The Frances B. Tencza Family Rev LT
7610 Sally Rd Heights
Colorado Springs, CO 80923



Thomas and Alice Sweatman
14336 Eagle Villa Grove
Colorado Springs, CO 80921



Vernon K. and Sharolyn J. Watkins
116 Chatsworth Lane
Clayton, NC 27527



W. Glen Smith Rev. Trust Dated 8/8/08
12626 Cloudy Bay Dr
Colorado Springs, CO 80921




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                              ASIC Creditor Matrix v2
William and Sunnie Anderson
7625 Clovis Way
Colorado Springs, CO 80908




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